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 1
 2                          UNITED STATES DISTRICT COURT
 3                         SOUTHERN DISTRICT OF NEW YORK

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 6
     DUSTY BUTTON AND MITCHELL                              Case No: 1:24-CV-05888-MKV
 7   TAYLOR BUTTON
 8
                       PLAINTIFFS,                          MOTION TO SEAL EXHIBIT C OF
 9
     V.                                                     PLAINTIFFS’ APPLICATIONS TO
10                                                          PROCEED IN FORMA PAUPERIS
11   THE NEW YORK TIMES COMPANY,
     JULIA JACOBS, DEMETRI BLAISDELL,
12   SABINA MARIELLA, LINDSEY RUFF,
     DAVID MCCRAW AND DAWN
13   SCHNEIDER
14
15                     DEFENDANT.
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23                   Plaintiffs recently submitted their applications for leave to proceed in forma

24   pauperis as they borrowed funds to file their complaint in order to expedite their complaint
25   against Defendant due to statutes of limitations and due to various other Federal Complaints and
26   the birth of their child. Plaintiffs are therefore unable to fund further associated Court fees
27
     including viewing their ECF documents and kindly ask the Court to waive the fees associated
28
                                        1
       MOTION TO SEAL EXHIBIT C OF PLAINTIFFS’ APPLICATIONS TO PROCEED IN
                                FORMA PAUPERIS
             Case 1:24-cv-05888-MKV              Document 6        Filed 08/21/24        Page 2 of 3



 1   with ECF filings and retrieval of documents once they are filed so that Plaintiffs may view the
 2   docketed filings and proceed accordingly, as previously and already recognized by the District
 3
     Court of Nevada, the Southern District Court of Florida and the Massachusetts Appeals Court,
 4
     seen in Exhibits A, B, and D.
 5
                     In association with Plaintiffs’ request, Plaintiffs respectfully ask the Court to seal
 6
     Exhibit C filed with their applications as it contains Plaintiffs’ confidential and personal financial
 7
     information.
 8
 9

10                                           Respectfully dated this 21st of August,

11
12                                           ____________________________________
13
                                             Dusty Button and Mitchell Taylor Button
14
                                             (Pro se)
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                                        2
       MOTION TO SEAL EXHIBIT C OF PLAINTIFFS’ APPLICATIONS TO PROCEED IN
                                FORMA PAUPERIS
            Case 1:24-cv-05888-MKV         Document 6        Filed 08/21/24     Page 3 of 3



 1                                CERTIFICATE OF SERVICE
 2                 The undersigned hereby certifies that the foregoing document was filed with
 3
     Prose@nysd.uscourts.gov on August 21st, 2024.
 4
 5
 6
 7                               Dated this 21st day of August, 2024,

 8
 9                                       /s/___________________________________________
10
                                         Signature of Plaintiff Dusty Button (Pro se)
11
12
                                         /s/___________________________________________
13
                                         Signature of Plaintiff Mitchell Taylor Button (Pro se)
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                                       3
      MOTION TO SEAL EXHIBIT C OF PLAINTIFFS’ APPLICATIONS TO PROCEED IN
                               FORMA PAUPERIS
